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               UNITED STATES COURT OF INTERNATIONAL TRADE


EMILY LEY PAPER, INC., d/b/a SIMPLIFIED,

                           Plaintiff,
                                                         Court No. 25-00096
                      v.

DONALD J. TRUMP, in his official capacity as
President of the United States; EXECUTIVE
OFFICE OF THE PRESIDENT; UNITED
STATES OF AMERICA; KRISTI NOEM, in her
official capacity as Secretary of the U.S.
Department of Homeland Security;
DEPARTMENT OF HOMELAND SECURITY;
PETE R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and
Border Protection; and U.S. CUSTOMS AND
BORDER PROTECTION,

                           Defendants.



                                ORDER OF ASSIGNMENT


      Pursuant to 28 U.S.C. §§ 253(c) and 255 and Rule 77(e) of the Rules of this Court,

the above-entitled action is assigned to a three-judge panel consisting of Judge Gary S.

Katzmann, Judge Timothy M. Reif, and Judge Jane A. Restani.


                                                      /s/ Mark A. Barnett
                                                        Mark A. Barnett
                                                        Chief Judge


DATED: June 4, 2025
